        Case 21-60052 Document 190 Filed in TXSB on 06/29/22 Page 1 of 4




                         THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

In Re:                                           §                   Case No. 21-60052-CML
SCOTT VINCENT VAN DYKE                           §
       Debtor(s)                                 §                           Chapter 7

               CHAPTER 7 TRUSTEE’S SECOND MOTION FOR EXTENSION
                       OF TIME TO OBJECT TO DISCHARGE

        This motion seeks an order that may adversely affect you. If you oppose the motion, you
        should immediately contact the moving party to resolve the dispute. If you and the
        moving party cannot agree, you must file a response and send a copy to the moving party.
        You must file and serve your response within 21 days of the date this was served on you.
        Your response must state why the motion should not be granted. If you do not file a
        timely response, the relief may be granted without further notice to you. If you oppose
        the motion and have not reached an agreement, you must attend the hearing. Unless the
        parties agree otherwise, the court may consider evidence at the hearing and may decide
        the motion at the hearing.

        Represented parties should act through their attorney.

        COMES NOW Catherine S. Curtis, Chapter 7 Trustee, and files this Chapter 7 Trustee’s

Second Motion for Extension of Time to Object to Discharge, and in support respectfully

represents:

         1.     On May 25, 2021, SCOTT VINCENT VAN DYKE, filed his voluntary petition under

Chapter 11 of the Bankruptcy Code.

         2.     On January 31, 2022, the case converted to a Chapter 7, and on February 11, 2022,

Catherine Stone Curtis was appointed Chapter 7 Trustee to administer the assets of the bankruptcy

estate (“the Estate”).

         3.     The Meeting of Creditors pursuant to Section 341 of the Bankruptcy Code (“the 341

Meeting”) has been held and concluded as of May 20, 2022.

          4.    The Trustee and the Debtor’s counsel have engaged in settlement discussions. Matters
        Case 21-60052 Document 190 Filed in TXSB on 06/29/22 Page 2 of 4




relating to the Debtor’s scheduled assets and business interests are pertinent to those discussions. A

2004 exam for the Debtor is expected to be set for July 2022, once parties agree to a date.

          5.    Pursuant to Federal Rule of Bankruptcy Procedure 4004(b)(1), “[o]n motion of any

party in interest, after notice and hearing, the court may for cause extend the time to object to

discharge… ...the motion shall be filed before the time [to object] has expired.” FED. R. BANKR. P.

4004(b)(1). In a chapter 7 case, a complaint or motion to object to discharge must be filed no later

than sixty (60) days after the first date set for the 341 Meeting. FED. R. BANKR. P. 4004(a).

          6.    In this case, the deadline to object to discharge has been set for July 1, 2022. The

Trustee requests a second extension of time to object to discharge, to August 5, 2022, for the Trustee,

United States Trustee, and creditors. This Motion is timely as it is filed before the time to object to

discharge has expired.

        WHEREFORE, the Trustee prays that the Court grant the relief requested in the Motion,

and extend the deadline to object to discharge to August 5, 2022, and for any other relief the Trustee

is entitled to, in law or equity.


                                                        Respectfully submitted,

Date: June 29, 2022                                     /S/CATHERINE STONE CURTIS
                                                        Catherine Stone Curtis
                                                        TBN: 24074100
                                                        Federal ID No.: 1129434
                                                        PULMAN, CAPPUCCIO & PULLEN, LLP
                                                        P.O. Box 720788
                                                        McAllen, TX 78504
                                                        Ph: (956) 467-1900
                                                        Fax: (956) 331-2815
                                                        Email: ccurtis@pulmanlaw.com
                                                        Chapter 7 Trustee
       Case 21-60052 Document 190 Filed in TXSB on 06/29/22 Page 3 of 4




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served on all
necessary parties in accordance with FRBP 2002 on the date it was filed electronically or within
two business days thereafter.

       VIA ELECTRONIC NOTICE:
       U.S. Trustee
       US Trustee
       606 N Carancahua Ste 1107
       Corpus Christi, TX 78401

       VIA ELECTRONIC NOTICE AND VIA FIRST CLASS MAIL:
       Scott Vincent Van Dyke
       1515 South Boulevard
       Houston, TX 77006
       Debtor

       Brendon D. Singh
       Tran Singh, LLP
       2502 La Branch Street
       Houston, TX 77004
       Debtor’s Counsel

       And to all parties on the attached matrix via First Class U.S. Mail.

       And to all parties requesting notice by ECF Notice.


                                                     /S/CATHERINE STONE CURTIS
                                                     Catherine Stone Curtis
                   Case 21-60052 Document 190 Filed in TXSB on 06/29/22 Page 4 of 4

AmeriCredit/GM Financial             Bank of America                         Big Tex Storage
Attn: Bankruptcy                     4909 Savarese Circle FL1-908-01-50      3480 Ella
PO Box 183853                        Tampa, FL 33634-2413                    Houston, TX 77018-6136
Arlington, TX 76096-3853


Brendon D Singh                      Builders West Inc.                      Cadence/Superior Bank
Tran Singh, LLP                      8905 Friendship                         Operations Center
2502 La Branch Street                Houston, TX 77080-4111                  2100 3rd Ave N
Houston, TX 77004-1028                                                       Birmingham, AL 35203


Catherine Stone Curtis               Central Portfolio Control               Citibank
Pulman, Cappuccio & Pullen, LLP      Attn: Bankruptcy                        Citicorp Credit Srvs/Centralized Bk dept
P.O. Box 720788                      10249 Yellow Circle Dr Ste 200          PO Box 790034
McAllen, TX 78504-0788               Minnetonka, MN 55343-9111               St Louis, MO 63179-0034


City of Houston Public Works         ECHELON ANALYTICS                       Encore Bank
Attn: Effie Green                    ATTN MALINDA PISCIOTTA                  Nine Greenway Plaza
4200 Leeland                         1717 MAIN STREET STE 3380               Houston, TX 77046-0905
Houston, TX 77023-3016               DALLAS TX 75201-7364


Forest Home Plantation, LLC          Harris County et al.                    Henke, Williams & Boll, LLP
c/o Leann O. Moses                   c/o John P. Dillman                     2929 Allen Pkwy Ste 3900
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                                     PO Box 3064
New Orleans, LA 70163-1102
                                     Houston, TX 77253-3064

Johns & Hebert PLLC                  JPMORGAN CHASE BANK N A                 JPMorgan Chase Bank, N.A.
f/k/a Johns & Counsel PL             BANKRUPTCY MAIL INTAKE                  s/b/m/t Chase Bank USA, N.A.
2028 East Ben White Blvd Ste 240     TEAM                                    c/o Robertson, Anschutz & Schneid, P.L.
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                                     MONROE LA 71203-4774

Libertas Funding LLC                 Michael L. Noel                         PHOENIX FINANCIAL SERVICES
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                                                                             INDIANAPOLIS IN 46236-1450


PNC BANK RETAIL LENDING              Reese Baker                             Scott Vincent Van Dyke
PO BOX 94982                         Baker & Assoc.                          1515 South Boulevard
CLEVELAND OH 44101-4982              950 Echo Lane Ste 300                   Houston, TX 77006-6335
                                     Houston, TX 77024-2824


Susan Tran Adams                     TMX FINANCE LLC                         US Trustee
Tran Singh LLP                       FORMERLY TITLEMAX                       Office of the US Trustee
2502 La Branch Street                15 BULL STREET STE 200                  515 Rusk Ave Ste 3516
Houston, TX 77004-1028               SAVANNAH GA 31401-2686                  Houston, TX 77002-2604


Wells Fargo Bank N.A., d/b/a Wells   Wells Fargo Dealer Services
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